         Case 13-06908-MM13               Filed 10/30/18          Entered 10/30/18 15:04:47                   Doc 73       Pg. 1 of 6
CSD 1500 (07/01/18)
Name, Address, Telephone No. & I.D. No.

Kristin Zilberstein, Esq. (SBN 200041)
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                    UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
                    325 West F Street, San Diego, California 92101-6991

In Re

Jose A Perales
                                                                                                   BANKRUPTCY NO.     13-06908-MM13
                                                                    Debtor.

                                                                          Plaintiff(s) (Adv)       ADVERSARY NO.
                                                                     ✔    Movant(s) (RS)
                                                                                                   RS NO.   MRG-1

v.
                                                                          Defendant(s) (Adv)       Date of Hearing: 8/14/2018
US Bank Trust National Association as Trustee of the                                               Time of Hearing: 10:00AM
SCIG Series III Trust                                                ✔    Respondents(s)(RS)       Name of Judge: Honorable Margaret M Mann




                                                    NOTICE OF LODGMENT

 TO: All Parties in Interest

 PLEASE TAKE NOTICE that:

                  On October 29, 2018                                      , the undersigned party lodged with the court a proposed

     Order Re: Notice of Intent to Resonsider and Reallow Proof of Claim No. 6                                                                ,

 a copy of which is attached as Exhibit A and incorporated by reference.

 Under Rule 7054-3(b) of the Local Bankruptcy Rules of this court, any objections to the form or content of this proposed

  Order Re: Notice of Intent to Resonsider and Reallow Proof of Claim No. 6

 must be filed and served on the undersigned party within 7 days from the date of service of this Notice of Lodgment.




     DATED: 10/30/2018                                                    /s/ Kristin Zilberstein
                                                                               Party       ✔   Attorney for Movant




CSD 1500
         Case 13-06908-MM13                 Filed 10/30/18      Entered 10/30/18 15:04:47           Doc 73      Pg. 2 of 6

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                                                CERTIFICATE OF SERVICE
         I, Krystle Miller                          am a resident of the State of California, over the age of 18 years,
and not a party to this action.

         On October 30, 2018                     , I served the Notice of Lodgment:


1.        To Be Served by the Court via Notice of Electronic Filing (“NEF”):

        Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the
court via NEF and hyperlink to the document. On 10/30/2018                    , I checked the CM/ECF docket for
this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:
Debtors Counsel:John C. Colwell drlc@debtclinic.com,
G15002@notify.cincompass.com,dwiedecker@gmail.com,ecf@debtclinic.com
Debtors Counsel:Daniel Wiedecker dandrlc@debtclinic.com, drlc@debtclinic.com



                 Chapter 7 Trustee:



     ✔           For Chpt. 7, 11, & 12 cases:      For ODD numbered Chapter 13 cases:    ✔   For EVEN numbered Chapter 13 cases:
                 UNITED STATES TRUSTEE             THOMAS H. BILLINGSLEA, JR., TRUSTEE       DAVID L. SKELTON, TRUSTEE
                 ustp.region15@usdoj.gov           Billingslea@thb.coxatwork.com             admin@ch13.sdcoxmail.com
                                                                                             dskelton13@ecf.epiqsystems.com




2.        Served by United States Mail:

       On October 30, 2018                ,I served the following person(s) and/or entity(ies) at the last known
address(es) in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the
United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:
 Debtor: Jose A. Perales 1648 Curry Comb Drive San Marcos, CA 92069 (US Mail)




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       Case 13-06908-MM13            Filed 10/30/18        Entered 10/30/18 15:04:47           Doc 73       Pg. 3 of 6
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3.      Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

       Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method) by facsimile
transmission, overnight delivery, and/or electronic mail as follows:




        I declare under penalty of perjury under the laws of the United States of America that the statements made
        in this proof of service are true and correct.



        Executed on     10/30/2018                           /s/ Krystle Miller
                        (Date)                                (Typed Name and Signature)

                                                            1920 Old Tustin Ave.
                                                              (Address)

                                                             Santa Ana CA 92705
                                                              (City, State, ZIP Code)




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CSD 1001A [07/01/18]
Name, Address, Telephone No. & I.D. No.

 Kristin A. Zilberstein, Esq., (SBN 200041)
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              UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
                 325 West F Street, San Diego, California 92101-6991

 In Re Jose A. Perales
                                                                                  BANKRUPTCY NO. 13-06908-MM13

                                                                                  Date of Hearing: 8/14/2018
                                                                                  Time of Hearing: 10:00 AM
                                                                                  Name of Judge: Margaret M. Mann
                                                                        Debtor.


                                                                   ORDER ON
                              Notice of Intent to Resonsider and Reallow Proof of Claim No. 6



           The court orders as set forth on the continuation pages attached and numbered 1 through 2 with exhibits, if any, for

 a total of 2 pages. Motion/Application Docket Entry No. 66.

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 DATED:
                                                                         Judge, United States Bankruptcy Court
       Case 13-06908-MM13           Filed 10/30/18         Entered 10/30/18 15:04:47        Doc 73     Pg. 6 of 6
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 ORDER ON Notice of Intent to Resonsider and Reallow Proof of Claim No. 6
 DEBTOR: Jose A. Perales                                                                 CASE NO: 13-06908-MM13


 On August 14, 2018, the Notice of Intent to Reconsider and Reallow Proof of Claim No. 6 was heard. The Court
 adopted the tentative which ordered U.S. Bank Trust National Association, as Trustee of the SCIG Series III Trust and
 the Trustee to meet and confer re: the remaining amount of Claim No. 6.

 Following the meet and confer, it is so ORDERED:

 1) Claim No. 6 filed by U.S. Bank Trust National Association, as Trustee of the SCIG Series III Trust has $924.30
 remaining unpaid as of 10/5/2018.

 2) Claim No. 6 shall remain unchanged:
        a. The Total Claim is $273,961.45.
        b. The Amount of arrearage is $20,680.36.
        c. As of 10/5/2018, $924.30 remained to be paid.




CSD 1001A
